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                             IN THE UNITED STATES DISTRICT COURT                     DEC 1 6 2020
                              FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION                          Clerk, U.S. L:..-:rict Court
                                                                                       Texas Eastern


   UNITED STATES OF AMERICA

   v.



   DEBRA LYNN MERCER-ERWJN (1)
   KAYLEIGH MOFFETT (2)
   GUILLERMO GARCIA MENDEZ (3)
   FEDERICO ANDRES MACHADO (4)
   CARLOS ROCHA VILLAURRUTIA (5)
   ALBAN GERARDO AZOFEIFA-CHACON (6)
   AARON BELLO-MILLAN (7)
   MICHAEL ASSAD MARCOS (8)

                           SECOND SUPERSEDING INDICTMENT

  THE UNITED STATES GRAND JURY CHARGES:

          At all times material to this Second Superseding Indictment:

                                           INTRODUCTION

          1. Aircraft Guaranty Corporation (AGC) registered thousands of aircraft in

  Onalaska Texas, an East Texas town without an airport. The true owners of many of


  these aircraft are foreign nationals. Non-citizens can register aircraft with the United

  States Federal Aviation Administration if the aircraft is placed in a trust managed by a

  United States trustee. 14 C.F.R. § 47.7(c). In exchange for entering into this

  arrangement, the foreign national receives a coveted N tail number for his aircraft.

  This N number is valuable because foreign countries are less likely to inspect an U.S.-

  registered aircraft for airworthiness or force down an American aircraft. It also avoids




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  foreign taxes related to the aircraft s importation to that foreign country and increases the

  aircraft’s resell value.


          2. To register an aircraft held in a U.S. Trust, the U.S. Trustee submits at least


  three documents for FAA review: (1) the Trust Agreement; (2) an Affidavit of

    itizenship of the Owner Trustee; and (3) the Operating Agreemem; or Lease Agreement

  The FAA then issues a reasoned opinion about whether the aircraft is eligible for

  registration. AGO followed this procedure, but made several fraudulent representations

  or filings in the process. It then received an opinion letter from the FAA stating, we have

  reviewed both the Trust Agreement and the Affidavit for compliance with 14 C.F.R. §

  47.7(c). “Regarding the Trust Agreement, . . . Article 6.2(c) directs the owner trustee to

  effect registration of the aircraft with the FAA. Article 6.2 of AGC’s standard Trust

  Agreement outlines the actions the Trustee “covenants and agrees to take. Article 6.2(c)

  requires the Trustee to “take all actions which the Trustee deems necessary or advisable

  to register any Aircraft which comprises a portion of the Trust Property with the United

  States Federal Aviation Administration and to insure that the Aircraft maintains its

  registration and complies with related regulations and requirements (emphasis added).

  After reading this provision, and others, the FAA concluded that “the form of the Trust

  Agreement... satisfies the requirements of Sections 47.7(c)(2)(i) and 47.7(c)(2)(iii). It

  determined the aircraft was “eligible for United States registration in the name of the

  Owner Trustee. Without this representation, the FAA would not register the aircraft.

          3. Upon entering this arrangement, the trustee is responsible for complying

  with aircraft reporting obligations, which they cannot delegate to third parties. In June

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  2013, the FAA stressed, The regulatory obligations of an owner trustee with regard to an

  aircraft registered in the U.S. using a non-citizen trust are, and always have been, the


  same as the regulatory obligations of all owners of U.S. registered aircraft. Fed. Reg

  Vol 78, No.117 (June 18, 2013). “The FAA Registry is an owner registry; it is not an

  ‘operator’ registry. Id. Once th FAA completes the registration process, the registered

  owner is the owner for all purposbs under the regulations. Id. The FAA has determined

  that there is nothing inherent in the status of a trustee owner of a U.S.-registered aircraft

  that would affect or limit its responsibilities for ensuring compliance with applicable laws

  and regulations. Id. Thus, an owner of an aircraft on the U.S. registry cannot avoid a


  regulatory obligation imposed on it by the FAA simply by entering into a private contract

  with another party. Id.

          4. The aircraft is subject to United States regulations and requirements,

  including those issued by the Department of Commerce. The Owner Trustee promised

  the FAA compliance. If the aircraft is exported, then the Trustee must insure the required

  Electronic Export Information is filed under 15 C.F.R. §§ 30.3, 758.1(b)(5), and 758.2.

  AGC refused to comply, even when confronted by United States authorities.

          5. The defendants circumvent United States laws and regulations by placing

   N numbers in the hands of drug traffickers and prohibited foreign nationals. Each

  named individual participated in the scheme. The defendants use their status as United

  States citizens with United States corporations to execute a three-part scheme furthering

  international drug trafficking activity. First, the defendants violate FAA and Department

  of Commerce regulations to register aircraft with the United States while concealing the

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  aircraft s true ownership and exportation. Second when law enforcement seizes a

  registered aircraft laden with drugs, the defendants deregister or otherwise transfer

  ownership of the airciraft. Finally, the defeiidants participated in ii series of bogus aircraft

  sales transactions in c>rder to conceal the mewement    of illegally olftained funds.

               THE DEIPENDANTS AND T1IEIR CORPORATE ENTITIES

          6. Aircra]'t Guaranty Corporation Holdin s (AGC), was founded in


  Onalaska, Texas, Eastern District of Texas. In December 2014, Debbie Mercer-Erwin

  purchased AGC and continued registering aircraft in Onalaska, Texas. On or about

  January 22, 2020, AGC changed its address to 928 SW 107th St. Oklahoma City,

  Oklahoma 73170.

          7. Wright Brothers Aircraft Title, Inc. (WBAT) is an Oklahoma

  corporation with a principle place of business in Oklahoma at 928 SW 107th Street,

  Oklahoma City, Oklahoma 73170. WBAT often acts as an escrow agent in aircraft

  purchase transactions involving AGC and other co-conspirators. WBAT shares resources,

  office space, and employees with AGC. At times, it makes FAA filings related to AGC

  aircraft.


          8. GMAVIATION S.A. de C.V. is listed on AGC’s website as its Mexican-

  based location.


          9. Debra Lynn Mercer-Erwin owns AGC and WBAT.

          10. Kaylei h Moffett is an officer of AGC and WBAT.




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          11. Guillermo Garcia Mendez owns and operates GMAVIATION. Guillermo

  Garcia Mendez and GMAVIACION S.A. de C.V. are listed on AGC s website as its

  representatives in Mexico.

          12.     South Aviation, Inc. (SAI) is a Florida corporation, with its principal

  place of business located at 1470 Lee Wagener Boulev ard, Suite 100, Ft. Lauderdale, FL

  33315. SAI acts as a broker for third-party buyers of aircraft

          13. Pampa Aircraft Financin (PAF) is a Florida corporation, with its

  principal place of business located at 1470 Lee Wagener Blvd, Suite 100, Ft. Lauderdale

  FL 33315. PAF acts as a broker for third-party buyers of aircraft.

          14. Federico Machado owns and operates SAI and PAF.

          15. Ford Electric Co. is a Wyoming company, with a principle place of

  business at 1712 Pioneer Ave. STE 1461, Cheyenne, Wyoming 82001.

          16. Texton Enterprises, EEC (Texton) is a Wyoming corporation, with its

  principle place of business at 1712 Pioneer Ave #500 Cheyenne, WY 82001.

          17. TWA International, Inc. (TWA) is a Wyoming corporation, with its

  principle place of business at 17122 Pioneer Ave #500 Cheyenne, WY 82001.

          18. Carlos Rocha Villarrutia purchases aircraft and illegally exports them to

  foreign countries using Texton, TWA, and Ford Electric Co.

          19. Alban Gerardo Azofeifa-Chacon is a Costa Rican national and pilot.

         20. Aaron Bello-Millan is a Mexican national and pilot.

         21. Projets Inc. is a Texas corporation with its principle place of business at

  8620 West Monroe Rd., Suite 204 Houston, TX 77061.

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          22. Jetnet, LLC is a Delaware limited liability corporation with its principle

  place of business at 2711 Centerville Rd Suite #400 Wilmington, DE, 19808.

          23. Global Jets LLC is a Delaware limited liability corporation with its

  principle place of business at 5444 Westheimer Rd. Ste. 1090 Houston, TX 77056

          24. Michael Assad Marcos is the Managing Member of Jetnet, LLC and the

  President of Projets, Inc. He also owns Global Jets

          25. The above-mentioned companies are interrelated. For example,

  GMAVIACION is the Mexican representative of AGC. AGC and WBAT comingle

  leadership, employees, resources, and office space. Texton and TWA have similarly

  comingled their operations. SAI and PAF contract with WBAT as an escrow agent and

  TWA transacts business with WBAT. In November 2018, WBAT received three wires

  comprising $220,000 from TWA for the purchase of an aircraft. WBAT was also

  involved in the purchase of aircraft used by Marcos.

                         OFFENDING AIRCRAFT TRANSACTIONS

          26. The Department of Commerce (DOC), Bureau of Industry and Security

  (BIS), Office of Export Enforcement (OEE), and Homeland Security Investigation (HSI)

  initiated their investigation of Defendants after noticing irregularities in aircraft filings

  and learning that several defendant-registered aircraft were seized or destroyed while

  smuggling drugs internationally. The following paragraphs provide non-exhaustive

  examples by aircraft.

         27. N8286M / N456PF. On or about February 11, 2020, N8286M and N456PF

  were registered with the FAA to Irvin A. Romero Lozano, an illegal alien with an

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  apartment in San Jose, California. In the registration documents, Lozano claimed to be a

  U.S. Citizen (in violation of 49 U.S.C. § 46306 and 18 U.S.C. § 1001). That same day,

  Declarations of International Operation were filed for both N numbers listing

  Guadalajara, Mexico as the final destination. The associated bills of sale for this aircraft

  were dated December 10, 2019 for N8286M and December 27, 2019 for N456PF. These

  transactions were brokered by Guillermo Garcia of GMAVIATION. Because Lozano is

  an illegal alien, he cannot legally register an aircraft as an individual with the United

  States. DOC notified Lozano that his aircraft had been seized. Lozano signed a notice of

  abandonment for the aircraft and stated that he believed his identity had been stolen.

          28. N260RC. On or about January 31, 2020, N260RC was scheduled to depart

  Brownsville, Texas to Monterrey, Mexico. 19 C.F.R. 122.22(c) requires private aircraft

  pilots or their designees departing the U.S. to provide CBP Automated Passenger

  Information System filings for each passenger at least one hour before departure. This

  information was not provided, and the aircraft was seized. Agents reviewed the

  ownership documents for the aircraft and determined that on September 15, 2017, the

  Mescalero Apache Tribe sold this aircraft to ITRC, LLC. On or about October 20, 2017,

  ITRC and AGC entered into a Trust Agreement for this aircraft. Rodolfo Camarillo

  Montemayor a foreign national was the manager of ITRC. ITRC., a Mexican

  corporation, held 100% of the membership shares of ITRC and Montemayor was the

  president, CEO, and 99% shareholder of ITRC. A bill of sale showed transfer of this

  aircraft to AGC and a corresponding Lease Agreement dated October 20, 2017, leased

  the aircraft to Camro Transportes, S A. de C.V. Montemayor signed the Lease Agreement


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  as the Sole-Administrator. AGC is a Texas corporation and the sales records show an

  address for AGC of FOB 2547 Onalaska, Texas, which subjects its purchase to Texas s

  6.25% sales tax. Rather than pay this tax, AGC filed a Texas Aircraft Exemption

  Certificate on or about October 30, 2017, stating that AGC did not owe the tax because

  “the aircraft will be registered in Onalaska, Texas but will “be hangered in Apodaca,

  NL, Mexico and is not purchased for use in Texas.” The aircraft has been outside of the

  United States for three years without any export filings.

          29. N18BA. On or about September 15, 2014, Daniel Regalado Orta signed a

  bill of sale for N18BA to AGC. That same day, AGC registered the aircraft with the

  FAA. On or about July 24, 2014, AGC executed an Amended Dry Lease Agreement

  leasing the aircraft to Orta. On or about January 13, 2016, WBAT filed for a duplicate

  certificate with the FAA. On or about March 10, 2019, N18BA crashed in Mexico killing

  one pilot. Mexican authorities seized 1,215 kilograms of cocaine from the aircraft.

  Approximately five years earlier, in 2014, Connie Wood (who died in 2019 of natural

  causes) placed this aircraft in a trust controlled by AGC. AGC continued to file

  registration documents for this aircraft under the leadership of Debbie Mercer and

  Kayleigh Moffett. On or about March 21, 2019, AGC employee Dawna Peters, the

  Executive Vice President of Trust Administration, wrote the lessee of N18BA, Daniel

  Regalado Orta.

         We have received reports that N18BA was involved in a fatal accident in
         Mexico, March 10th. Please confirm if this is accurate, and if not, where is
         N18BA currently located? This is an urgent request, we are being asked by
         a US government entity to provide the current location of your
         aircraft, British Aerospace HS 125-700A, s/n NA0316, N18BA.

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  Mr. Orta responded, This infonnation is false. The aircraft is currently located in Toluca

  airport in hangar 6A. It is currently in maintenance and therefore grounded. Continuing

  its investigation, the Department of Commerce served a subpoena on AGC. AGC

  provided a written response, which claimed that the crashed aircraft falsely displayed the

  N18BA tail number, which belongs to a different AGC aircraft. “The aircraft which

  crashed, Beechcraft 256046, was formerly registered in the U.S. under N299GS and was

  held by AGC in Trust 1936 from October 3, 2011 to May 29, 2014.” The beneficiary of

  the trust was Administracion Aeronautica International S.A. de C.V. and Marco Antonio

  Alvarado Padilla was the manager of that company. According to AGC, the aircraft was

  transferred to the foreign beneficiary before the crash on or about March 29, 2015, and

  the FAA Registration for this aircraft was canceled on or about February 15, 2018. AGC

  and its co-conspirators did not make any export filings for this transaction. On or about

  January 22, 2020, Kayleigh Moffett filed an address update with the FAA for N18BA.

          30. N305AG. On or about October 5, 2012, N305AG was registered to AGC.

  That same day, a Declaration of International Operation was filed by AGC for this

  aircraft. On or about September 11, 2018, Kayleigh Moffett filed a FAA Registration

  renewal. On or about January 27, 2020, N305AG was seized in Guatemala with

  approximately 1,700 kilograms of cocaine. The aircraft was taken into Guatemalan

  custody, where it has remained ever since. On or about January 29, 2020, news reports

  published the seizure. Two days later, on or about January 31, 2020, Kayleigh Moffett

  transferred ownership of the aircraft to Arrendadora THH SA de CV, a foreign company.



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   AGC and its co-conspirators did not make any export filings for this transaction. On or

   about February 6, 2020, an open source video of N305AG flying out of the Guatemalan

  jungle went viral. On or about February 20, 2020, Moffett filed a bill of sale with the

   FAA and asked to deregister the aircraft.

           31. N311BD. On or about December 16, 2019, Kayleigh Moffett filed a bill of

   sale for N311BD, which transferred the aircraft from Gastelum a convicted drug

   trafficker located in Sinaloa, Mexico1 to AGC. That same day, Kayleigh Moffett filed

   for a Declaration of International Operation to Mexico on behalf of N311BD as trustee.

   On or about February 27, 2020, the aircraft was seized in Belize with approximately

   2,310 kilograms of cocaine. The aircraft was taken into government custody, where it

   remains. The news broadcasted this seizure on or about March 1, 2020. Approximately

   four days later, Debbie Mercer sent Gastelum a letter stating that AGC will begin the

   reassigmuent and deregistration of N311BD. On or about April 14, 2020, Kayleigh

  Moffett filed a bill of sale transferring the aircraft to Gastelum despite the fact that the

   aircraft was in government custody in Belize. AGC and its co-conspirators did not make

   any export filings. In July 2020, the FAA advised Gastelum that he does not meet the

  U.S. citizenship requirements to register an aircraft.

           32. N569LM. On or about May 16, 2016, AGC entered into a trust agreement

  with Ancheta SA. de C.V. for the purposes of holding N56LM in a trust. It then leased

  the aircraft back to Ancehta, SA. de CV. On or about June 16, 2016, Kayleigh Moffett



  1 A simple Google search yield articles related to Gastelum s US drug conviction.
  https://www.clevelandl9.com/story/7488478/mexican-drug-ring-busted-2-million-in-cocaine-seized/


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   registered N569LM with the FAA. That same day, Ancheta, S.A. de C.V., a Mexican

   company, sold N569LM to AGC. Robert Miguel Gonzalez Barragan signed on behalf of

  Ancheta. On or about June 16, 2016, Debra Mercer-Erwin filed a Declaration of

  International Operations as president of AGC. On or about January 3, 2020, the

  government learned that the aircraft is located in Mexico 90% of the time. AGC and its

  co-conspirators did not make any export filings for this aircraft. On or about January 15,

  2020, Kayleigh Moffett filed a change of address for trustee AGC.

          33. N515BA. On or about June 25, 2020, AGC entered into a trust agreement

  with Jorge Alberto Torres Isalas. This document was certified as a true and correct copy

  by Moffett noting WBAT. AGC then leased the aircraft back to Torres Isalas. AGC and

  its co-conspirators did not file export documents for this plane. On or about June 28,

  2020, HSI learned of a suspicious flight leaving Mexican airspace in violation of a filed

  flight plan. The aircraft left Mexican airspace and entered Venezuelan airspace.

  Authorities located the flight and photographed the aircraft. It bore tail number N515BA.

  Authorities continued to monitor the aircraft and noticed that false tail number N5674

  was later applied to the aircraft. N5674 is tied to a deregistered aircraft that differs

  substantially in appearance from the targeted aircraft. The Venezuelan military attempted

  to force the aircraft down but lost tracking near a clandestine runway. The following

  morning, a destroyed aircraft was located on the clandestine runway. Photos of the

  destroyed aircraft briefly appeared on a social media account and identified the aircraft as

  N515BA.




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           34. N770SW. From approximately January 5, 2018 until April 16, 2019,

   N770SW was registered with the FAA as belonging to AGC. On or about April 16, 2019,

   Kayleigh Moffett as secretary of AGC sent the FAA a bill of sale transferring the aircraft

   to Aircraft Finance Aircorp, Inc. The bill of sale was dated April 17, 2019. On or about

   June 17, 2019, Federico Machado told the government that Aircraft Finance Aircorp, Inc.

   was his company and that it had not purchased N770SW. On or about June 18, 2019, a

   bill of sale transferred ownership of N700SW to EOLO Air Corp. This form is

   DocuSigned by Federico Machado as company secretary. On or about June 20, 2019,

   EOLO filed a Declaration of International Operations for N770SW to fly from Opa-

   Locka, Florida to Toluco, Mexico. EOLO asked the FAA to fax the flight wire to WBAT.

   EOLO Air Corp. is listed as the owner of the aircraft. A document on WBAT letterhead

   asked the FAA to return all un-recordable documents to WBAT. AGC and its co¬

   conspirators did not make any export filings for this aircraft.

           35. N224EA. On or about March 10, 2017, TWA purchased N224EA. The

   aircraft was registered with the FAA under TWA. Villaurrutia is the sole owner and

   president of TWA. That same day, Villaurrutia filed a Declaration of International

   Operations to fly the aircraft from Pompano, Florida to Cancun, Mexico. TWA and its

   co-conspirators did not make any export filings. On or about November 9, 2018, TWA

   sold N224EA to VICA Aviation, Inc. This company is wholly owned and operated by a

   relative of Villaurrutia. Despite TWA s representations that it owned the aircraft, other

   entities funded and operated the aircraft. On or about December 19, 2018, N224EA




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   crashed in Honduras while transporting drugs. On or about January 7, 2019, VICA

   Aviation requested the deregistration of the aircraft for export to Mexico.

          36. N241CW. On or about October 11, 2018, TWA purchased N241CW. That

   same day, Villaurrutia registered N241CW with the FAA under TWA and fded a

   Declaration of International Operations to fly the aircraft from Phoenix, Arizona to

   Ciudad Juarez, Mexico. TWA did not make any export filings. On or about December 9,

   2018, N241CW crashed in Venezuela while delivering 1,200 kilograms of cocaine for the

   Sinaloa Cartel. On or about January 7, 2019, TWA submitted a deregistration request for

   export to Mexico.

          37. N322BC. On or about January 11, 2019, TWA purchased N322BC and

   registered it with the FAA under TWA. On or about January 14, 2019, Villaurrutia filed

   a Declaration of International Operation to fly the aircraft from McAllen, Texas to

   Monterrey, Mexico. On or about September 11, 2019, Villarrutia submitted a

   deregistration request for export to Mexico. TWA and its co-conspirators did not make

   any export filings. On or about October 19, 2019, the aircraft landed on a clandestine

   airstrip in Cayo District, Belize, where it was found abandoned. The seats had been

  removed and the aircraft was configured for narcotics transportation.


          38. N35531. On or about February 14, 2019, Texton purchased N35531, but

  never registered it. An unregistered aircraft should not be flown by anyone at any time.

  From approximately April 4, 2019 to November 13, 2019, the FAA sent letters to Texton

  notifying Texton that the aircraft was not registered. On or about February 15, 2019, a

  flight plan was filed for N35531. It disclosed a departure from Fort Worth, Texas to

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   Tampico, Mexico. On or about June 6, 2019, the aircraft was found abandoned in

   Guatemala. TWA did not make any export filings.

          39. N465BC. On or about August 16, 2019, TWA purchased N465BC and

   registered it with the FAA under TWA. Despite TWA s representations that it owned the

   aircraft, other entities funded and operated the aircraft. On or about August 19, 2019,

   TWA fded a Declaration of International Operations to fly the aircraft from Memphis,

   Tennessee to Merida, Mexico. TWA and its co-conspirators did not make any export


   filings. On or about October 25, 2019, the aircraft landed on a clandestine airstrip in

   Guatemala. The aircra t was configured for narcotics transportation. That same day,


   TWA filed a request to deregister the aircraft for export to Mexico.

          40. N530GA. On or about March 2, 2018, TWA purchased N530GA and

   registered it with the FAA under TWA. On or about June 6, 2018, Villaurrutia filed a

   Declaration of International Operations to fly the aircraft from Chino, California to

   Tijuana, Mexico. TWA and its co-conspirators did not make any export filings. On or

   about October 26, 2019, the aircraft landed on a clandestine airstrip in Guatemala. The

   aircraft was configured for narcotics transportation. As of December 11, 2020, N530GA

  was still registered to TWA.

          41. N939RR. On or about January 11, 2017, Texton purchased N939RR and

  registered it with the FAA under Texton. Villaurrutia is the sole owner and president of

  Texton. Despite Texton s representations that it owned the aircraft, other entities funded

  and operated the aircraft. On or about May 29, 2018, Villaurrutia deregistered the aircraft

  for export to Mexico. On or about December 16, 2019, the aircraft was seized in

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   Guatemala with approximately 2,572 kilograms of cocaine. TWA did not make any

   export filings.

          42. N990PA. On or about May 9, 2018, Villaurrutia purchased N990PA and

   registered it with the FAA under TWA. Despite TWA s representations that it owned the

   aircraft, other entities funded and operated the aircraft. On or about March 22, 2019, the

   aircraft crashed in Honduras with one kilogram of cocaine and one firearm. On or about

   March 25, 2019, Villaurrutia deregistered the aircraft with the acknowledgement that it

   was exported and destroyed. TWA and its co-conspirators did not make any export

   filings.

          43. N368AG. On or about August 2, 2019, Villaurrutia purchased N368AG

   and registered it with the FAA under TWA. Villaurrutia entered into an Aircraft Security

   Agreement with AW Asset Holdings, LLC, a company located in Plano, Texas. AW

   Asset Holdings entered into this agreement with TWA on or about August 2, 2019. On or

   about August 2, 2019, Villaurrutia filed a Declaration of International Operation to fly

   from Wichita, Kansas to Cancun, Mexico. TWA and its co-conspirators did not make any

   export filings. On or about October 15, 2019, this aircraft was sold to SMB G-IVIX

   LLC.

          44. N2000. On or about October 29, 2016, Villarrutia registered N2000 with

  the FAA through Ford Electric Co. On or about October 31, 2016, Hadid Design and

  Management LLC sold N2000 to Ford Electric Co. On or about November 1, 2016,

  Villarrutia filed a Declaration of International Operations for a flight from Nassau,

  Bahamas to Opa Locka, Florida. In approximately March 2017, Michael Marcos

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   attempted to use N2000 to conduct a narcotics delivery. On or about December 11, 2017,

   Carlos Villarrutia through Ford Electronic Co. sold N2000 to Soto Santiago William. The

   corresponding Bill of Sale was filed on or about January 10, 2018.

          45. N466MM / NN886N. On or about November 25, 2015, Exmegs

   Marketing, EEC, sold N466MM to Projets, Inc. On or about December 25, 2015, Projets,

   Inc. registered N466MM with the FAA. On or about October 30, 2018, Projets, Inc. sold

  N466MM to Jetnet EEC. N466MM was a Hawker 700A. On or about November 30,

   2018, a Hawker 700A attempted to land on a clandestine airstrip in Belize, but aborted its

   landing plans and landed in the Chetumal Airport in Mexico. This aircraft bore a

  modified registration number -NN886N. The pilot abandoned the aircraft. The aircraft

  contained approximately 1,556 kilograms of cocaine. The aircraft also had two

  Honeywell TFE731 series engines with serial numbers P84284 and P76292. According to

  FAA documents, these serial numbers are assigned to N466MM, the aircraft registered to

  Jetnet, EEC by Michael Marcos and leased to Mexican national Luis Alberto Romero

  Rosales. On or about December 14, 2018, Marcos deregistered the aircraft noted that it

  was sold to a foreign purchaser and exported to Mexico while it was in the custody of the

  Mexican government. No export filing was made for this aircraft.

          46. N884AB. On or about August 10, 2020, Horizons Ahead, EEC sold

  N384AB to Projets, Inc. On or about August 14, 2020, Projets, Inc. filed a Declaration of

  International Operation for a flight to Monterrey, Mexico. On or about August 17, 2020,

  the registration number N384AB was changed to N884AB. On or about August 25,

  2020, Marcos filed a Declaration of International Operation with the FAA for a flight

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   from Houston, Texas to Monterrey, Mexico. On or about August 26, 2020, Marcos

   deregistered N884AB with the FAA and sold it to Vander Servicios y Comercial, SA de

   CV, a Mexican company. An export filing listing Vander Servicios was made for this

   aircraft. After August 26, 2020, it is illegal to display tail number N884AB on any

   aircraft because it is a de-registered number. On or about August 29, 2020, the Mexican

   government seized N884AB as a stateless aircraft. According to its pilots, the aircraft s

   true owner is Hector Sanchez Garcia in Guadalajara, Jalisco, Mexico. This individual

   should have been listed on the export filing.

           47. N740HB. On or about June 10, 2019, N740HB was sold by PIBSA Ignerio

   Construccion Industrial (PIBSA) to Victor Gilberto Alverez, a Mexican citizen. On or

   about May 24, 2020, an aircraft with fictitious registration number N740HBH arrived at

   Hobby Airport in Houston, Texas from Durango, Mexico. This number was a clerical

   error. The true registration number for this aircraft was N740HB. FAA registration

   documents for N740HB list Global Jets LLC a company owned by Michael Marcos

   as the trustee owner and PIBSA Ignerio Construccion Industrial (PIBSA) as the operator.

  However, the Automated Passenger Information System filing for N740HB listed Global

   Jets LLC as the operator and Victor Gilberto Alverez, in Toluca Mexico as the owner.

  Victor Gilberto Alverez is not listed on the FAA registration. No export filing was made

   for this aircraft.

          48. N777EH. On or about January 26, 2018, the FAA received a Bill of Sale

  for N777EH noting that Projets, Inc. purchased N777EH from Charter Equipment

  Leasing LLC. That same day, Michael Marcos filed an Aircraft Registration Application

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   for N777EH on the behalf of Projets, Inc. On or about February 27, 2018, the FAA

   received a bill of sale noting the sale of N777EH from Projets Inc. to Jet Net EEC as

   Trustee. On or about January 26, 2020, Passengers waiting to board the N777EH were

   detained on the tarmac with approximately 168 kilograms of cocaine. The Aircraft was

   taken into Colombian custody. On or about January 27, 2020, Michael Marcos, as the

   Managing Member of Jetnet, EEC, sold N777EH to Jesus Arteaga Morales. That same

   day Michael Marcos deregistered the aircraft with the FAA for export to Mexico. These

   filings occurred while the aircraft was in Colombian custody. No export filings were

   made for this aircraft.

                                      THE TRUST SCHEME

          49. AGC typically enters into a (1) Trust Agreement, (2) Purchase Agreement

   and corresponding Bill of Sale, and (3) Dry Lease Agreement with a corporation owned

   by a foreign national. On at least one occasion, this foreign national was a convicted drug

  trafficker. Typically, the documents are structured as follows:

          50. Trust A reement. The Trust Agreement creates a legal structure in which

  AGC holds the title to the aircraft for the benefit of the drug dealer s corporation. As

   explained earlier, the FAA requires this arrangement for a non-citizen to register his

   aircraft with the United States. AGC does not specifically identify any aircraft in its trust

  agreements by unique identifier. This runs contrary to the model trust agreement

  promulgated by the FAA in 2013.




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                    FAA Model                                  AGC Agreement
    “Aircraft” means the Aircraft, serial          “Aircraft” means those certain airplanes or
    number [], FAA Registration Number N []        helicopters, including engines and parts,
   together with the [] engines, bearings,         for which the Trustee holds title for the
   manufacturer s serial numbers and [],           benefit of Beneficiary, and which shall
   which are transferred to the Owner              constitute the Trust Property.”
   Trustee in trust under this Trust
   Agreement                                       *Note, the Aircraft is not identified
                                                   anywhere in AGC s trust agreements.


   The following provisions are noteworthy:

      • Section 2.4 Activities      The Trust may engage in the following activities: (i) the
          ownership, management, registration and leasing of the Trust property, (ii)
          activities which are necessary, suitable or convenient to accomplish the foregoing,
          and (iii) other such activities as may be required in connection with conserving the
          Trust Property and making distributions to the Beneficiaries.
      • Section 3.2. Limitations on Transfer allows the Beneficiary to transfer his
         beneficial interest in the trust but requires Trustee approval.
      • Section 4.3 Beneficiary s Duties to Provide Information under the FAA Trust
         Policy Beneficiary acknowledges that Trustee has reporting obligations to the
         FAA and agrees to provide information to fulfill those obligations.
      • Section 6.2 Specific Authority explains authorized activities of the Trustee
         including authorization to “take all actions which the Trustee deems necessary or
         advisable to register any Aircraft which comprises the Trust Property with the
         [FAA] and to insure that such Aircraft maintains its registration and complies with
          related regulations and requirements.”
      • Section 6A (d) “nothing in this Agreement shall relieve any of the Beneficiary,
         Trustee or any other Person of any obligation to comply with any law, rule or
         regulation of any governmental authority with respect to the ownership and
         operation of the Aircraft.”
      • Section 11.13 Beneficiary Compliance with US Law. The Beneficiary
         acknowledges that the aircraft may be subject to export and re-export restrictions
         and that these laws and OF AC regulations bind the Trustee.
      • Exhibit 1 Trustee Fee Schedule This form sets out payments owed to the
         Trustee for maintaining the trust. In the AGC trust agreements on file with the
         FAA, this form is blank.
      • Exhibit 2 FAA Trust Policy Certificate This is the form the Beneficiary fills out
         to aid the Trustee in meeting its FAA reporting obligations. In the AGC trust
         agreements on file with the FAA, this form is blank.


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          51. Bill of Sale. AGC s Trust Agreements create the trust, but do not transfer

   the aircraft from the foreign owner to the trustee. AGC executes an Aircraft Purchase

   Agreement and files a one-page Bill of Sale that appears to transfer the aircraft into

   AGC s possession in exchange for a nominal amount, usually from $1 to $10.

          52. Dry Lease Agreement. After transferring the aircraft into the newly

   created trust, AGC leases the aircraft back to the foreign national through his corporation

   in a Dry Lease Agreement. A Dry Lease Agreement allows the Lessee to operate the

   aircraft and select his own crew. AGC also attempts to shirk its responsibilities by

   delegating regulation obligations to the foreign national. As explained above, the FAA

   publicly rejected this arrangement. The following are notable provisions:

          • Lease Agreement Section 3.1. Operation and Control           Lessee is responsible
              for operating the Aircraft in accordance and compliance with all laws,
              ordinances and regulations relating to the possession, use, operation, or
              maintenance of the Aircraft, including but not limited to, Federal Aviation
              Regulations.
          • Lease Agreement Section 3.4. Limits of Operations         Lessee warrants it will
              not use the aircraft for an illegal purpose.
          • Lease Agreement Section 5.1 Lessor s Warranty          Lessor warrants, among
              other things, that the aircraft is properly registered in the name of the Lessor in
              accordance with U.S. law.
          • Lease Agreement Section 6.13 FAA Trust Policy Lessee agrees to provide
             Lessor with the information needed to fulfill FAA reporting obligations.
          • Exhibit A Lessee provides name and contact information as well as the
             location where the aircraft will be primarily hangered. This location is usually
              foreign.
          • Exhibit B Addendum to Dry Lease Agreement Section 2. Compliance with US
             Law Lessee affirms it is in compliance with OF AC regulations and
             acknowledges that the aircraft may be subject to export restrictions.
          • Exhibit 1 to Exhibit B Addendum to Dry Lease Agreement FAA Trust Policy
             Certificate provides the address, contact information, and Jurisdiction of
             incorporation for the Lessee. This is usually a foreign corporation. It also

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              identifies the airport where the aircraft is normally based and the jurisdiction
              where the “aircraft is normally operated.” These typically are foreign locations.

           53. After executing these agreements, the aircraft receives an “N” number.


   Now, it must adhere to all United States laws and regulations. The Trustee agrees to

   comply with to all of the reporting obligations for the aircraft. This streamlines the

   reporting process for the FAA by designating a U.S. citizen that is responsible for

  providing the FAA (and other agencies) with information related to the aircraft.

                             THE SCHEME TO CONCEAL FUNDS

          54. WBAT and its co-conspirators funnel money through refundable deposits

  placed on un-sellable aircraft during bogus sales transactions. The typical aircraft

  purchase transaction proceeds as follows:


          • Step 1: The buyer identifies an aircraft he would like to purchase. There is
             usually a period of time during which the buyer will perform due diligence on
             the aircraft. In order to ensure the seller does not continue marketing the
              aircraft, the buyer will agree to provide a refundable deposit of money. The
             buyer and seller will agree to conditions that, if met, render the deposit non-
             refundable. Usually, the “hardening” of the deposit into a non-refundable
              deposit depends on whether the aircraft has passed an inspection initiated by
              the buyer.
          • Step 2: The buyer typically secures a lender to help provide funds for the full-
             purchase price of the aircraft. The loan is for the purchase of the aircraft, not
             the deposit. If a buyer cannot afford the deposit, it signals to the seller that he is
             not capable of purchasing the aircraft.
          • Step 3: The buyer and seller enter into an escrow agreement with an escrow
             agent. The escrow agent holds the buyer s refundable deposit in a separate
             account and controls disbursement of the funds. If there is a dispute between
             the buyer and seller about whether the deposit has become nonrefundable
             under the conditions of the parties’ agreement, the escrow agent will decide the
             dispute and disburse the funds accordingly.




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          • Step 4: After completion of the sale, the buyer usually sells the aircraft to a
              company for a higher asking price. Sometimes the buyer will already have this
              second purchaser lined-up before he purchases the aircraft from the seller.

          55. The WBAT scheme differs from this model in two key respects. First, the

   loan money is for the refundable deposit, not the purchase of the aircraft. Second, the sale

   of the aircraft is never consummated because the aircraft either does not exist or belongs

   to someone else. The WBAT scheme is as follows:

          • Step 1: The lender agrees to lend the fraudulent buyer a refundable deposit.
              The fraudulent buyer secured a loan, he now owes the lender interest.. The
                hardening of the deposit into a non-reftmdable deposit is contingent upon the
              illegitimate buyer s successful inspection of the aircraft and other things.
          • Step 2: The deposit money is placed into an escrow company’s escrow
              account, which is always designated by the fraudulent buyer, i.e. WBAT.
              Whereas a typical escrow agreement includes the buyer, seller, and escrow
              agent, this escrow agreement is usually between just the escrow agent and the
              fraudulent buyer.
          • Step 3: The fraudulent buyer never inspects the aircraft because the aircraft
              either does not exist (e.g., has been decommissioned) or is not actually for sale
              (e.g., belongs to a commercial airline). WBAT transfers the refundable deposit
              into accounts designated by the fraudulent buyer to be used for other purposes,
              and not for the purchase of the designated aircraft. WBAT is compensated for
             these fraudulent transactions with money taken from the escrow account as
             well. As a result, the deal falls through and the deposit does not harden.
          • Step 4: The fraudulent buyer then secures another loan from a lender for the
             purchase of another unsellable aircraft. This loan pays for the principle and
              interest owed for the previous unsellable aircraft transaction involving WBAT
              and the fraudulent buyer.

          56. On or about September 27, 2019, SAI, and WBAT entered into a series of

   agreements for the sale of an unsellable plane. The plane was unsellable because it

  belonged to a private airline and was located in China. On or about September 27, 2019,

   a company known to the grand jury as UC1 and SAI entered into a letter agreement


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   regarding a refundable deposit on an aircraft. Machado signed this agreement on behalf

   of SAL That same day, UC1 entered into an Escrow Agreement with WBAT. Mercer

   signed this agreement on behalf of WBAT.

           57. In or about December 2019, UC1 approached a legitimate bank known to

   the grand jury as LB1 to secure a loan to perpetuate the scheme o. On or about January

   14, 2020, Machado spoke with the CEO of LB1 over the phone about the proposed

   transaction. The proposed buyer in this transaction was SAI and the proposed escrow

   company was WBAT. UC1 engaged LB1 in a series of negotiations surrounding this

   proposal. UC1 provided LB1 the serial number and registration of the aircraft. It did not

   correspond to any existing aircraft records. When asked about the discrepancy, UC1

   responded that the information it originally provided was incorrect. UC1 provided a new

   registration number. This number corresponded to an aircraft that was decommissioned in

   2017.

           58. On or about February 28, 2019, SAI and WBAT entered into a series of

   agreements for the sale of an unsellable aircraft. The aircraft was unsellable because the

  aircraft has belonged to All Nippon Airways Co., LTD. since 2010 and is registered in

  Japan. On February 28, 2019, UC1 and SAI entered into a letter agreement regarding a

  refundable deposit on an aircraft. Machado signed this agreement on behalf of SAL That

  same day, UC1 and SAI entered into an escrow agreement with WBAT. Machado signed

  this agreement on behalf of SAL

           59. On or about November 12, 2020, PAF, and Rusty 115 Corp entered into an

  agreement for the sale of an unsellable aircraft utilizing WBAT. The aircraft was

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   unsellable because the aircraft belonged to Air India and was not for sale. This

   agreement was for $5,000,000 refundable deposit on the unsellable aircraft. Machado

   signed this agreement on behalf of PAF. $550,000 was subsequently transferred to

  Machado by WBAT for use other than the purchase of the aircraft.

                                            COUNT ONE

                                                 Violation: 21 U.S.C. § 846 (Conspiracy to
                                                 Manufacture and Distribute Cocaine)

          That sometime in or about 2012, and continuously thereafter up to and including

  the date of this Second Superseding Indictment, in the Eastern District of Texas, and

   elsewhere, Debra Lynn Mercer-Erwin, Kayleigh Moffett, Guillermo Garcia Mendez,

  Federico Machado, Carlos Rocha Villaurrutia, Alban Gerardo Azofeifa-Chacon,

  Aaron Bello-Millan, and Michael Assad Marcos, defendants, did knowingly and

  intentionally combine, conspire, and agree with other persons known and unknown to the

  United States Grand Jury, to knowingly and intentionally possess with the intent to

  distribute five kilograms or more of a mixture and substance containing a detectable

  amount of cocaine, a schedule II controlled substance, a violation of 21 U.S.C. §

  841(a)(1).

         In violation of 21 U.S. § 846.




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                                            COUNT TWO

                                                Violation: 21 U.S.C. § 963 (Conspiracy to
                                                Manufacture and Distribute Cocaine
                                                Intending, Knowing, and with Reasonable
                                                Cause to Believe that the Cocaine will be
                                                Unlawfully Imported into the United States)

          That sometime in or about 2012, and continuously thereafter up to and including

   the date of this Second Superseding Indictment, in Colombia, Ecuador, Panama, Costa

   Rica, Guatemala, Mexico, Belize, Venezuela, and elsewhere, Debra Lynn Mercer-

   Erwin, Kayleigh Moffett, Guillermo Garcia Mendez, Federico Machado, Carlos

   Rocha Villaurrutia, Alban Gerardo Azofeifa-Chacon, Aaron Bello-Millan, and

   Michael Assad Marcos, defendants, did knowingly and intentionally combine, conspire,

   and agree with other persons known and unknown to the United States Grand Jury, to

   knowingly and intentionally manufacture and distribute five kilograms or more of a

   mixture and substance containing a detectable amount of cocaine, a schedule II controlled

   substance, intending, knowing, and having reasonable cause to believe that such

   substance would be unlawfully imported into the United States, in violation of 21 U.S.C.

   §§ 959(a) and 960.

          In violation of 21 U.S.C. § 963.




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                                            COUNT THREE

                                                 Violation: 21 U.S.C. § 959, 18 U.S.C. § 2
                                                 (Manufacturing and Distributing Five
                                                 Kilograms or More of Cocaine Intending,
                                                 Knowing and with Reasonable Cause to
                                                 Believe that the Cocaine will be Unlawfully
                                                 Imported into the United States)

          That sometime in or about 2012, and continuously thereafter up to and including

   the date of this Second Superseding Indictment, in Colombia, Ecuador, Panama, Costa

   Rica, Guatemala, Mexico, Belize, Venezuela, and elsewhere, Debra Lynn Mercer-


   Erwin, Kaylei h Moffett, Guillermo Garcia Mendez, Federico Machado, Carlos

   Rocha Villaurrutia, Alban Gerardo Azofeifa-Chacon, Aaron Bello-Millan, and

   Michael Assad Marcos, defendants, aided and abetted by each other, did knowingly and

   intentionally manufacture and distribute five kilograms or more of a mixture and

   substance containing a detectable amount of cocaine, a Schedule II controlled substance,

   intending, knowing, and with reasonable cause to believe that such cocaine would be

  unlawfully imported into the United States.

          In violation of 21 U.S.C. § 959.

                                            COUNT FOUR

                                                 Violation: 18 U.S.C. § 1956(h) (Conspiracy
                                                 to Commit Money Laundering)

          From in or about 2016, and continuing thereafter up to and including the date of

  this Second Superseding Indictment, in the Eastern District of Texas, and elsewhere,

  Debra Lynn Mercer-Erwin, Kaylei h Moffett, Guillermo Garcia Mendez, Federico

  Machado, Carlos Rocha Villaurrutia, and Michael Assad Marcos, defendants, did

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   knowingly combine, conspire, and agree together and with others known and unknown to

   the Grand Jury, to commit offenses against the United States in violation of 18 U.S.C. §§

   1956 and 1957, that is:

          (a) to knowingly conduct and attempt to conduct financial transactions

   affecting interstate commerce and foreign commerce, which transactions involved the

   proceeds of specified unlawful activity, that is, wire fraud in violation of 18 U.S.C. §§

   1343, 1349; distribution or conspiracy to distribute or possess with the intent to distribute

   a controlled substance in violation of 21 U.S.C. § 846; and distribution or conspiracy to

   distribute or possess with the intent to distribute a controlled substance to a place in the

   United States from or through a place outside the United States in violation of 21 U.S.C.

   §§ 959 and 963, knowing that the transactions were designed in whole and in part to

   conceal and disguise the nature, location, source, ownership, and control of the proceeds

   of specified unlawful activity, and that while conducting and attempting to conduct such

  financial transactions, knew that the property involved in the financial transactions

  represented the proceeds of some form of unlawful activity, in violation of 18 U.S.C. §

   1956(a)(l)(B)(i);
          (b) to knowingly conduct and attempt to conduct financial transactions

  affecting interstate commerce and foreign commerce, which transactions involved the

  proceeds of specified unlawful activity, that is, conspiracy to commit wire fraud in

  violation of 18 U.S.C. §§ 1343, 1349; distribution or conspiracy to distribute or possess

  with the intent to distribute a controlled substance in violation of 21 U.S.C. § 846;

  distribution or conspiracy to distribute or possess with the intent to distribute a controlled

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   substance to place in the United States from or through a place outside the United States

   in violation of 21 U.S.C. §§ 959 and 963; and interstate and foreign transportation of

   stolen property in violation of 18 U.S.C. § 2314, knowing that the transactions were

   designed in whole and in part to conceal and disguise the nature, location, source,

   ownership, and control of the proceeds of specified unlawful activity, and that while

   conducting and attempting to conduct such financial transactions, knew that the property

   involved in the financial transactions represented the proceeds of some form of unlawful

   activity, in violation of 18 U.S.C. § 1956(a)(2)(B)(i); and

          (c) to knowingly engage and attempt to engage, in monetary transactions by,

   through, and to a financial institution, affecting interstate and foreign commerce, in

   criminally derived property of a value greater than $10,000, and such property having

   been derived from a specified unlawful activity, that is, wire fraud; distribution or

   conspiracy to distribute or possess with the intent to distribute a controlled substance; and

   distribution or conspiracy to distribute or possess with the intent to distribute a controlled

   substance to a place in the United States from or through a place outside the United

   States, in violation of 18 U.S.C. § 1957.

          In violation of 18 U.S.C. § 1956(h).

                                            COUNT FIVE

                                                   Violation: 18 U.S.C. § 371 (Conspiracy to
                                                   Commit Export Violations)

         All prior allegations are re-alleged and incorporated by reference as though fully set

  forth herein.



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                                             Introduction

          The U.S. Department of Commerce, through the U.S. Census Bureau and the U.S.


  Department of Homeland Security, Customs and Border Protection, participates in and

  maintains the Automated Export System (AES), an electronic portal of information for

  exports of goods from the United States. Both the Census Bureau and the Bureau of

  Industry and Security, also within the Department of Commerce, require the filing of

  electronic export information (EEI) through the AES (using AESDirect) pursuant to 13

  C.F.R. Part 30 and 15 C.F.R. Part 758. The EEI is also known as a shipper s export

  declaration (SED). The purpose of these requirements is to strengthen the U.S.

  Government’s ability to prevent the export of certain items to unauthorized destinations

  and end users because the AES aids in targeting, identifying, and, when necessary,

  confiscating suspicious or illegal shipments prior to exportation. 15 C.F.R. § 30.1(b).

  Exporters file EEI by entering data into AES via a computer. 15 C.F.R. § 30.6(a). EEI

  includes the date of export, the U.S. principle party of interest, the description of the

  commodity to be exported, the intermediate consignee’s name and address (if applicable),

  the ultimate consignee’s name and address, and the country of ultimate destination. 15

  C.F.R. § 30.6. Each filing can be identified by a unique Internal Transaction Number.

  Exporters, shippers, and freight forwarders, with limited exceptions inapplicable here, are

  required to file an EEI for every export of goods or technology from the United States

  that has a value greater than $2,500 or for which an export license was required. 15

  C.F.R. § 758.1(b)(5); 15 C.F.R. § 30.2.

                                            The Agreement

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          Sometime in or about 2014, and continuously thereafter up to and including the

   date of this Second Superseding Indictment, in the Eastern District of Texas, and

   elsewhere, the defendants Debra Lynn Mercer-Erwin, Kayleigh Moffett, and Michael

   Assad Marcos did knowingly conspire with each other and with other persons, both

   known and unknown to the Grand Jury, to commit offenses against the United States,

   specifically:

      (i) Knowingly failing to file an EEI, in violation oflSU.S.C. §305; and
      (ii) Fraudulently and knowingly attempting to export or send from the United States
           any merchandise, article, and object contrary to 13 U.S.C. § 305, a law and
           regulation of the United States, in violation of 18 U.S.C. § 554.

                                            Manner and Means


          It was part of the conspiracy that Debra Mercer-Erwin, Kayleigh Moffett, and

   Michael Assad Marcos would file or cause to be filed with the FAA documents that

   either concealed the true ownership of the aircraft, falsely identified the citizenship of the

   aircraft owner, or that established a trust. If the documents established the trust, the

   documents would contain misrepresentation and false assurances that the trustee would


   comply with United States regulations and laws as explained in more detail above in the

   section titled The Trust Scheme. These aircraft were then shipped overseas without the

   requisite exportation filings under 15 C.F.R. §§ 30.3, 758.1. and 758.2.

                                               Overt Acts

          In furtherance of the conspiracy and to accomplish its objects, at least one of the

   Defendants committed or cause to be committed, in the Eastern District of Texas and




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   elsewhere, the overt acts described in the section titled Offending Aircraft Transactions

   above.


            In violation of 18 U.S.C. §§ 371 and 554, 13 U.S.C. § 305.




                                           COUNT SIX

                                                   Violation: 18 U.S.C. § 371 (Conspiracy to
                                                   Commit Registration Violations Involving
                                                   Aircraft Not Providing Air Transportation in
                                                   violation of 49 U.S.C. § 46306)

            All prior allegations are re-alleged and incorporated by reference as though fully

   set forth herein.


            That sometime in or about 2014, and continuously thereafter up to and including

   the date of this Second Superseding Indictment, Debra Lynn Mercer-Erwin, Kayleigh

   Moffett, Guillermo Garcia Mendez, and Carlos Rocha Villaurrutia, defendants, did

   knowingly and intentionally combine, conspire, and agree with other persons known and

   unknown to the United States Grand Jury, to intentionally obtain and cause to be obtained

   a certificate authorized to be issued under Title 49, United States Code, Section 44103,

  that is, an owner s certificate of registration, by knowingly and willfully falsifying and

   concealing the following material facts with respect to the below aircraft:

     N Number           Material Misrepresentation
   N8286M/N456F         Irvine A. Romero Lozano was the owner of the aircraft and was a
                        United States citizen.
   N260RC               That AGC would adhere to all regulatory and statutory requirements
                        under United States law.
   N18BA                That AGC would adhere to all regulatory and statutory requirements
                        under United States law.


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    N305AG               That AGC would adhere to all regulatory and statutory requirements
                         under United States law.
    N311BD               That AGC would adhere to all regulatory and statutory requirements
                         under United States law.
    N35531               Texton did not submit a registration filing and yet operated the
                         aircraft in violation of United States law.
    N515BA               That AGC would adhere to all regulatory and statutory requirements
                         under United States law.
    N770SW               The true owner of N770SW.

    N224EA               The true owner of N224EA.

   N465BC                The true owner of N465BC.

   N939RR                The true owner of N939RR.

   N990PA                The true owner of N990PA.




                                     Objects of the Conspiracy

          The objects of the conspiracy were: (1) to illegally enrich the conspirators by

  providing United States registration for aircraft that otherwise would not qualify for

  registration; (2) avoid compliance with United State regulatory and statutory

  requirements; and (3) to conceal the prohibited activities from the United States

  govermnent as to avoid penalties, deregistration of the above listed aircraft, and

  disruption of the illegal activity.

                              Manner and Means of the Conspiracy

           It was part of the conspiracy and among the manner and means that some of the

  defendants, aided and abetted by each other and others: (1) either entered into a series of

  contracts that hid ownership, possessory, and citizenship information related to the

  aircraft; (2) to transmit this information or cause this infonnation to be transmitted to the

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   FAA by wire in foreign or interstate commerce; and (3) to obscure the true end use of the

   aircraft and compliance with United States laws.

                                             Overt Acts

          In furtherance of the conspiracy and to accomplish its objects, at least one of the

   Defendants committed or cause to be committed, in the Eastern District of Texas and

   elsewhere, the overt acts described in in the section titled Offending Aircraft

   Transactions above.

          In violation of 18 U.S.C. § 371 and 49 U.S.C. § 46306.

                                            COUNT SEVEN

                                                  Violation: 18 U.S.C. § 371 (Conspiracy to
                                                  commit interstate and foreign transport of
                                                  stolen property in violation of 18 U.S.C. §
                                                  2314)

          All prior allegations are re-alleged and incorporated by reference as though fully

   set forth herein. From in or about 2016, and continuing thereafter up to and including the

   date of this Second Superseding Indictment, in the Eastern District of Texas, and

   elsewhere, Debra Lynn Mercer-Erwin, Kaylei h Moffett, and Federico Machado did

   unlawfully transport, transmit, transfer, and cause to be transported, transmitted, and

  transferred in interstate and foreign commerce, moneys valuing $5,000 or more, knowing

  the same to have been stolen, converted and taken by fraud.




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                                     Objects of the Conspiracy

          The objects of the conspiracy were to illegally funnel investment money

  designated for aircra t purchases into foreign investments and to conceal from the

  investors that their investment funds were not being used to purchase aircraft.

                              Manner and Means of the Conspiracy

          It was part of the conspiracy and among the manner and means that some of the

  defendants, aided and abetted by each other and others engaged in the following:

          • Step 1: The lender agrees to lend the fraudulent buyer a refundable deposit.
              The fraudulent buyer secured a loan, he now owes the lender interest. The
                hardening of the deposit into a non-refundable deposit is contingent upon the
              illegitimate buyer s successful inspection of the aircraft and other things.
          • Step 2: The deposit money is placed into an escrow company’s escrow
              account, which is always designated by the fraudulent buyer, i.e. WBAT.
              Whereas a typical escrow agreement includes the buyer, seller, and escrow
              agent, this escrow agreement is usually between just the escrow agent and the
              fraudulent buyer.
          • Step 3: The fraudulent buyer never inspects the aircraft because the aircraft
              either does not exist (e.g., has been decommissioned) or is not actually for sale
              (e.g., belongs to a commercial airline). WBAT transfers the refundable deposit
              into accounts designated by the fraudulent buyer to be used for other purposes,
              and not for the purchase of the designated aircraft. WBAT is compensated for
             these fraudulent transactions with money taken from the escrow account as
              well. As a result, the deal falls through and the deposit does not harden.
          • Step 4: The fraudulent buyer then secures another loan from a lender for the
             purchase of another unsellable aircraft. This loan pays for the principle and
              interest owed for the previous unsellable aircraft transaction involving WBAT
              and the fraudulent buyer.

                                            Overt Acts

         In furtherance of the conspiracy and to accomplish its objects, at least one of the

  Defendants committed or cause to be committed, in the Eastern District of Texas and



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   elsewhere, the overt acts described in in the section titled The Scheme to Conceal

   Funds.


          In violation of 18 U.S.C. § 371 and 18 U.S.C. § 2314.




              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
    18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 982(a)(2); 21 U.S.C. §§ 853, 881(a), and 970;
               28 U.S.C. § 2461; 49 U.S.C. § 46306(d); and 50 U.S.C. § 4819(d)

          As a result of committing the offenses as alleged in this Second Superseding

   Indictment, defendants shall forfeit to the United States pursuant to 18 U.S.C. §§

   981(a)(1)(C), 982(a)(1), and 982(a)(2); 21 U.S.C. §§ 853, 881(a), and 970; 28 U.S.C. §

   2461; and 49 U.S.C. § 46306(d) any property constituting, or derived from, proceeds

   obtained directly, or indirectly, as a result of the said violations, and any property used, or

   intended to be used in any manner or part, to commit or to facilitate the commission of

  the said violations, including but not limited to the following:

   Money Jud ment

          A sum of money equal to $350,000,000 in United States currency, and all interest

   and proceeds traceable thereto, representing the amount of proceeds obtained by

   defendants as a result of the offenses alleged in this Second Superseding Indictment.

  Aircraft

      a. A Cessna T210K, Serial No. 21059286, United States Registered Number N8286M

      b. A Beech 200, Serial No. BB413, United States Registration number N456PF

      c. A Lear 31 A, Serial No. 080, United States Registered Number N260RC

      d. A Gulfstream G-1159, Serial No. 236, United States Registered Number N311BD

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      e. A British Aerospace BAE 125-800A, Serial No. 258013, United States Registered

          Number N305AG

      f. A Cessna 560, Serial No. 560-0068, United States Registered Number N569LM

      g. A Gulfstream G-l 159A, Serial No. 332, United States Registered Number N939RR

      h. A Gulfstream G-IV, Serial No. 1087, United States Registered Number N368AG

      i. A Hawker 800 XP, Serial No. 258740, United States Registered Number N740HB

   Substitute Assets

          If any of the property described above as being subject to forfeiture, as a result of

   any act or omission of the defendant:

        a. cannot be located upon the exercise of due diligence;
        b. has been transferred or sold to, or deposited with, a third person;
        c. has been placed beyond the jurisdiction of the court;
        d. has been substantially diminished in value; or
        e. has been commingled with other property which cannot be divided without
                difficulty,

   it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of

   any other property of defendants up to the value of the above forfeitable property,

   including but not limited to all property, both real and personal, owned by the defendants.

          By virtue of the commission of the felony offenses charged in this First

   Superseding Indictment, any and all interest defendants have in the above-described

  property is vested in the United States and hereby forfeited to the United States pursuant

  to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §2461.




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                                             A TRUE BILL




                                             GRAND JURY FOREPERSON




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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

    UNITED STATES OF AMER CA                               § SEALED
                                                           §
    v.                                                     § No. 4:20-CR-212
                                                           § Judge Mazzant
    DEBRA LYNN MERCER-ERWIN (1)                            §
    KAYLEIGH MOFFETT (2)                                   §
    GUILLERMO GARCIA MENDEZ (3)                            §
    FEDERICO ANDRES MACHADO (4)                            §
    CARLOS ROCHA VILLAURRUTIA (5)                          §
    ALBAN GERARDO AZOFEIFA-CHACON (6)                      §
    AARON BELLO-MILLAN (7)                                 §
    MICHAEL ASSAD MARCOS (8)                               §

                                       NOTICE OF PENALTY

                                            Count One
   Violation: 21 U.S.C. § 846

   Penalty: If 5 kilograms or more of a mixture or substance containing a detectable
                 amount of cocaine - not less than 10 years and not more than life
                 imprisonment, a fine not to exceed $10 million, or both. A term of
                 supervised release of at least five years

   Special Assessment: $100.00



                                            Count Two

  Violation: 21 U.S.C. § 963

  Penalty: Violation: 21 U.S.C. §963

  Penalty: Imprisonment for not less than ten years or more than life, a fine not to
               exceed $10,000,000.00 or both. A term of supervised release of at least
                  five years.




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  Special Assessment: $100.00


                                            Count Three


  Violation: 21 U.S.C • §959

  Penalty:       Imprisonment for not less than ten years or more thar. life, a fine not to
                 exceed $10,000,000.00 or both. A term of supervised release of at least
                 five years

  Special Assessment: $100.00

                                            Count Four


  Violation: 18 U.S.C. § 1956(h) and 1956(a)(2)(A) and (a)(2)(B)(i)

  Penalty: Not more than 20 years imprisonment; a fine not to exceed $250,000 or
                 twice the pecuniary gain or loss. A term of supervised release of not more
                 than 3 years.

  Special Assessment: $100.00



                                            Count Five

  Violation: 18 U.S.C. § 371 (Conspiracy to Commit Export Violations)

  Penalty: Not more than 10 years imprisonment; a fine not to exceed $250,000 or
                 both. A term of supervised release of not more than 3 years.


   Special Assessment: $100.00



                                            Count Six

  Violation: 18 U.S.C. § 371 (Conspiracy to Commit Registration Violations Involving
                Aircraft, Not Providing Air Transportation in violation of 49 U.S.C. §
                 46306)

  Penalty: Not more than 5 years imprisonment to be served in addition to, and not,
               concurrently with, any other term of imprisonment imposed on the


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                 individual; a fine not to exceed $250,000, or both. A term of supervised
                 release of not more than 3 years.


  Special Assessment: $100.00



                                            COUNT SEVEN

  Violation:      18U.S.C. §371 (Conspiracy to commit interstate and foreign transport of
                  stolen property in violation of 18 U.S.C. 2314)

  Penalty:       Not more than 10 years imprisonment; a fine not to exceed $250,000 or
                 both. A term of supervised release of not more than 3 years.


   Special Assessment: $100.00




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